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                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA

 v.

 MICHAEL T. FLYNN,                    Crim. Action No. 17-232 (EGS)
                    Defendant.


                                   ORDER

      For the reasons stated in the accompanying Memorandum

Opinion, it is hereby

      ORDERED that the government’s motion to dismiss pursuant to

Rule 48(a), ECF No. 198, is DENIED AS MOOT; and it is further

      ORDERED that the government’s consent motion to dismiss

this case as moot, ECF No. 308, is GRANTED; and it is further

      ORDERED that this case is DISMISSED AS MOOT.

      SO ORDERED.

Signed:    Emmet G. Sullivan
           United States District Judge
           December 8, 2020
